            Case MDL No. 3076 Document 168 Filed 07/21/23 Page 1 of 1




                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

   IN RE: FTX Cryptocurrency Exchange                          MDL Docket 3076
   Collapse Litigation


                          NOTICE OF POTENTIAL TAG-ALONG ACTIONS

         In accordance with Rule 7.1 (a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned counsel hereby notifies the Clerk of the JPML

of the potential tag along actions listed on the attached Schedule of Actions.

           Docket sheets and complaints are attached.

           Respectfully submitted on July 21, 2023,


                                  Plaintiffs’ Co-Lead Counsel

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